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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                 4:13CR3130-3

      vs.
                                                  DETENTION ORDER PENDING TRIAL
JOSUE ZAMORA QUINTERO,

                     Defendant.

       After affording the defendant an opportunity for a detention hearing under the Bail
Reform Act, 18 U.S.C. § 3142(f), the court concludes the defendant must be detained
pending trial.
       Based on the information of record, the court finds by clear and convincing
evidence that defendant’s release would pose a serious risk of defendant's nonappearance
at court proceedings, and no condition or combination of conditions of release will
sufficiently ameliorate that risk.
       Specifically, the court finds:
       The defendant is not a United States citizen, is subject to an ICE detainer,
       and faces deportation; and has waived the right to a detention hearing.

Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable,
from persons awaiting or serving sentences or held in custody pending appeal. The
defendant must be afforded a reasonable opportunity to consult privately with defense
counsel. On order of United States Court or on request of an attorney for the
Government, the person in charge of the corrections facility must deliver the defendant to
the United States marshal for a court appearance.
       October 25, 2013.


                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
